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                            UNITED STATES DISTRICT COURT
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                                DISTRICT OF VERMONT
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 JAMES D. SULLIVAN, LESLIE                      )                              RY._ _ _ _ _                 _
 ADDISON, WILLIAMS. SUMNER, JR.,                )                                  n~~,---...
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 RONALD S. HAUSTHOR, GORDON                     )
 GARRISON, LINDA CRAWFORD, TED                  )
 CRAWFORD, and BILLY J. KNIGHT,                 )
 individually, and on behalf of a Class of      )
 persons similarly situated,                    )
                                                )
        Plaintiffs,                             )
                                                )
        V.                                      )               Case No. 5:16-cv-125
                                                )
 SAINT-GOBAIN PERFORMANCE                       )
 PLASTICS CORPORATION,                          )
                                                )
        Defendant.                              )


                                       ENTRY ORDER

      · On May 28, 2021, the comt held a telephone conference with counsel regarding the

testimony of Mr. Gross. The comt requested that plaintiffs' counsel obtain a date in

approximately 3 weeks for testimony. The judge will attend the hearing in order to rule on

objections, especially privilege. Within 10 days, defense counsel will file a memorandum

outlining proposed processes and issues concerning Mr. Grass's testimony. Plaintiffs will

respond within a week. Mr. Gross is likely to appear by Zoom although the courthouse is now

open for an in-person hearing if he chooses to make the trip.

       Dated at Rutland, in the District of Vermont, this 1st day of June, 2021.



                                                     Geoffrey W. Crawford, Chief Judge
                                                     U.S . District Court




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